Case 3:09-cv-03403-WHA Document
 Case3:09-cv-03403-WHA          36 Filed
                       Document35        02/23/10 Page1
                                   Filed02/23/10  Page 1ofof33
Case 3:09-cv-03403-WHA Document
 Case3:09-cv-03403-WHA          36 Filed
                       Document35        02/23/10 Page2
                                   Filed02/23/10  Page 2ofof33
          Case 3:09-cv-03403-WHA Document
           Case3:09-cv-03403-WHA          36 Filed
                                 Document35        02/23/10 Page3
                                             Filed02/23/10  Page 3ofof33




                                 April 15

      No 23
         additional continuances or deadline extensions will be granted. The

extensions granted above will have no effect on any other deadlines set forth in the case

management order. The parties must prepare for trial,. and no extensions will be granted
                                                             ISTRIC
due to settlement efforts.
                                                        TES D      TC
                                                       A
                                             WILLIAM ALSUP
                                                      T




                                                                                   O
      IT IS SO ORDERED.
                                                        S
                                             UNITED STATES DISTRICT JUDGE




                                                                                    U
                                                       ED




                                                                                     RT
                                                                            DERED
                                                   UNIT




                                                                    O OR
Dated: February 23, 2010.                                   IT IS S




                                                                                           R NIA
                                                 WILLIAM ALSUP
                                                 UNITED STATES DISTRICT JUDGE
                                                                               lsup
                                                                      illiam A
                                                   NO




                                                          J u d g e W



                                                                                           FO
                                                     RT




                                                            ER                         LI
                                                       H




                                                                                   A
                                                                 N                     C
                                                                                   F
                                                                     D IS T IC T O
                                                                           R
